                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

JOSHUA GARTON,                                    )
                                                  )
         Plaintiff,                               )
                                                  )
v.                                                )      Case No.: 3:21-cv-00338
                                                  )
W. RAY CROUCH, DAVID RAUSCH,                      )      JUDGE ALETA TRAUGER
BRADLEY NEALON, RUSSELL                           )
WINKLER, JOSHUA MELTON,                           )      JURY DEMAND
JOSEPH CRAIG, DONALD ARNOLD,                      )
ANDREW VALLEE, and                                )
CITY OF DICKSON, TENNESSEE                        )
                                                  )
         Defendants.                              )


               CITY OF DICKSON AND DONALD ARNOLD’S REPLY TO
                    PLAINTIFFS’ RESPONSE IN OPPOSITION TO
                       DEFENDANTS’ MOTIONS TO DISMISS


         Come now the Defendants, City of Dickson and Donald Arnold, and file this

Reply to Plaintiff’s Response in Opposition to Defendants’ Motions to Dismiss.

         In his Response, Plaintiff continues to falsely assert that he has made a specific

factual allegation showing a violation of his rights by Donald Arnold. (DE 55, Page ID

#1866). In support of his claims, Plaintiff asserts that Capt. Arnold “was responsible for

working with the Tennessee Bureau of Investigation, on behalf of the City of Dickson, to

falsely arrest, maliciously prosecute, and unconstitutionally retaliate against Mr.

Garton.” Here, Plaintiff makes nothing more than a legal conclusion to attempt to

impose liability against Capt. Arnold and the City of Dickson. Other than this broad

allegation, Plaintiff fails to allege any specific facts supporting his allegation that Capt.

Arnold arrested Plaintiff (falsely or otherwise) and actually admits that Defendant Joe

Craig was the arresting officer. (DE 45, Page ID #1768, ¶ 42). Plaintiff also fails to allege
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any specific facts supporting his allegation that Capt. Arnold or the City of Dickson

maliciously prosecuted Plaintiff. The Amended Complaint is devoid of any facts

supporting how either of these Defendants “made, influenced, or participated in the

decision to prosecute” Mr. Garton. Plaintiff likewise fails to allege any facts supporting

his claim that Capt. Arnold or the City of Dickson unconstitutionally retaliated against

Mr. Garton.

         Rather, Plaintiff continues to base his claims against Capt. Arnold and the City of

Dickson on three items: (1) a text message from Capt. Arnold claiming Plaintiff has a

right to post but could suffer consequences without explaining how such text message to

another law enforcement officer forms the basis for a constitutional violation against

Mr. Garton, (2) a text message by Capt. Arnold showing support for law enforcement

colleagues without explaining how such a communication forms the basis of a

constitutional violation against Mr. Garton, and (3) a TBI press release, again, while

failing to include any argument as to how a press release that is hearsay and cannot be

used against the City or Defendant Arnold forms the basis for a constitutional violation

against Mr. Garton. (Id. at 1867-68).

         Plaintiff has simply failed to allege any specific action by Capt. Arnold or other

City employee that forms the basis of a constitutional violation against Mr. Garton. It is

clear that Plaintiff and his counsel have contempt for Capt. Arnold’s communications,

but these communications do not form the basis of any constitutional violation against

Mr. Garton. The TBI press release fails to do the same. For these reasons, Capt. Arnold

and the City of Dickson maintain that there are no specific actions by them that violated

Plaintiff’s constitutional rights.

         The City of Dickson also maintains that there is no custom, policy, or practice

giving rise to a municipal liability claim. “To succeed on a municipal liability claim, a
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plaintiff must establish that his or her constitutional rights were violated and that a

policy or custom of the municipality was the ‘moving force’ behind the deprivation of the

plaintiff's rights.” Miller v. Sanilac Cnty., 606 F.3d 240, 254–55 (6th Cir. 2010) (citing

Powers v. Hamilton County Pub. Defender Comm'n, 501 F.3d 592, 606–07 (6th Cir.

2007)).

         In his Response, Plaintiff asserts municipal liability based on the following

purported actions/failures by the City: (1) requesting other agencies to launch

investigations into people protesting Plaintiff’s treatment, (2) Defendant Arnold’s text

messages cited above (though respondeat superior is not sufficient to impose liability

on the City), (3) the City’s failure to enact subsequent policies to protect future incidents

similar to the one at issue, and (4) the City’s failure to discipline any employees for

misconduct. (DE 55, Page ID # 1868). None of these alleged actions or failures are the

“moving force” behind Mr. Garton’s alleged injuries. Rather, all of these alleged actions

or failures took place after Mr. Garton’s injuries. Because they all happened subsequent

to Plaintiff’s constitutional deprivation, they cannot serve as the “moving force” of the

same. As explained in Daniels v. City of Columbus, 2002 WL 484622 (S.D. Ohio Feb.20,

2002):

         In most cases, once an individual's rights have been violated, a subsequent
         failure to conduct a meaningful investigation cannot logically be the
         “moving force” behind the alleged constitutional deprivation. See
         Tompkins v. Frost, 655 F. Supp. 468, 472 (E.D.Mich.1987) (“wrongful
         conduct after an injury cannot be the proximate cause of the same
         injury”); Fox v. VanOosterum, 987 F. Supp. 597, 604 (W.D. Mich. 1997)
         (argument that decision not to investigate, made after alleged violation
         took place, somehow caused that violation, defies logic). For this reason,
         mere ratification of the conduct at issue does not generally subject a
         municipality to § 1983 liability.

Id. at *5.




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         To the extent Plaintiff is attempting to utilize these subsequent failures to allege a

“ratification theory” of municipal liability, his strategy fails for the same reasons. Recent

Courts have recognized that there is a somewhat colorable argument that the “moving

force” component in municipal liability cases “is not necessary to establish municipal

liability based on a ratification-by-a-final-decisionmaker theory.” See Brooks v. Spiegel,

2021 WL 4026728, at *5 (6th Cir. Sept. 3, 2021). To succeed on this theory, the Court

notes that “[i]f the authorized policymakers approve a subordinate's decision and the

basis for it, their ratification would be chargeable to the municipality because their

decision is final.” Id. Here, there is no evidence to suggest (and no allegation in

Plaintiff’s Amended Complaint) that a final policy maker with the City ratified any basis

for Capt. Arnold’s actions. Thus, even to the extent Plaintiff sufficiently states the first

portion of a ratification claim for municipal liability, Plaintiff fails to state any basis for

Capt. Arnold’s underlying actions. Plaintiff also fails to allege ratification of the basis of

those actions as required.

         Because Plaintiff continues to fail to point to a specific custom, policy, or practice

that was the “moving force” behind his injuries and fails to properly plead a ratification

theory of municipal liability, he fails to sufficiently allege a municipal liability claim

against the City of Dickson.

         Lastly, Plaintiff’s Response attempts to bolster his equal protection claim by

asserting that his equal protection claim is not a “class of one” claim and is, instead,

based on disparate treatment based on his exercise of his First Amendment rights. (DE

55, Page ID #1869). Plaintiff refers to his allegation that “[s]imilarly situated individuals

who posted the same image at issue were not subject to the same treatment the Plaintiff

received because their posting of the image at issue expressed a different viewpoint than

the Plaintiff had expressed.” (Id.; DE 45, Page ID # 1776-77, ¶¶ 85-86). Under this
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theory, Plaintiff must set forth at least some facts to show that Capt. Arnold or the City

of Dickson treated him disparately as compared to similarly situated persons and that

such disparate treatment burdened a fundamental right. Heard v. Crumpton, 2015 WL

1275305, at *3 (M.D. Tenn. Mar. 19, 2015). In this case, Plaintiff has failed to allege any

facts supporting his claim that Capt. Arnold or the City of Dickson treated him

disparately as compared to similarly situated persons. In fact, he has failed to allege that

Capt. Arnold or the City of Dickson took any action against him at all. Capt. Arnold did

not arrest Mr. Garton, did not detain Mr. Garton, did not interrogate Mr. Garton, and

was not involved in the decision to prosecute Mr. Garton. As a result, Plaintiff has failed

to state a claim that Capt. Arnold or the City treated him disparately and such treatment

burdened his fundamental right(s). As a result, Plaintiff has not sufficiently plead an

equal protection claim against Capt. Arnold or the City of Dickson.

         Wherefore, the City of Dickson and Donald Arnold respectfully request that this

Court enter an Order dismissing the Plaintiff’s Amended Complaint in its entirety.


                                          Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this the 16th day of September 2021, a
true and correct copy of the foregoing has been forwarded via the Court’s electronic
filing system to:

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